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             EXHIBIT F
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                                                                   Property Details


  Galveston CAD

       Property Search Results > 513715 DAIGLE DUSTIN &                                                  Tax Year: 2022

       MELISSA for Year 2022

 Property
     Account
     Property ID:                    513715                                Legal Description: BAY COLONY MEADOWS WEST SEC 3 PH 1
                                                                                              (2008) ABST 19, BLOCK 1, Lot 4, ACRES
                                                                                              0.172
     Geographic ID:            1365-1001-0004-000                          Zoning:
     Type:                     Real                                        Agent Code:
     Property Use Code:
     Property Use Description:
     Location
     Address:                        6533 GRAY BIRCH LN                    Mapsco:
                                     LEAGUE CITY, TX 77539
     Neighborhood:                   BAY COLONY WEST (2010)                Map ID:              188-A
     Neighborhood CD:                1391
     Owner
     Name:                           DAIGLE DUSTIN & MELISSA Owner ID:                          650966
     Mailing Address:                6533 GRAY BIRCH LN      % Ownership:                       100.0000000000%
                                     DICKINSON, TX 77539
                                                             Exemptions:                        HS

 Values

     (+) Improvement Homesite Value:                      +                $293,750
     (+) Improvement Non-Homesite Value:                  +                          $0
     (+) Land Homesite Value:                             +                  $30,680
     (+) Land Non-Homesite Value:                         +                          $0    Ag / Timber Use Value
     (+) Agricultural Market Valuation:                   +                          $0                       $0
     (+) Timber Market Valuation:                         +                          $0                       $0
                                                              --------------------------
     (=) Market Value:                     =                               $324,430
     (–) Ag or Timber Use Value Reduction: –                                         $0
                                                              --------------------------
     (=) Appraised Value:                                 =                $324,430
     (–) HS Cap:                                          –                    $5,873
                                                              --------------------------
     (=) Assessed Value:                                  =                $318,557

 Taxing Jurisdiction
     Owner:       DAIGLE DUSTIN & MELISSA
     % Ownership: 100.0000000000%
     Total Value: $324,430

       Entity I Description                         I Tax Rate I Appraised Value I                       Taxable Value I Estimated Tax I I
       C40         LEAGUE CITY                       0.465526                    $324,430                     $254,846       $1,186.37
       CAD         APPRAISAL DISTRICT                0.000000                    $324,430                     $318,557           $0.00
       GGA         GALVESTON COUNTY                  0.414940                    $324,430                     $254,846       $1,057.46

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                                                                    Property Details
          J05       MAINLAND COLLEGE                 0.267700                    $324,430                        $254,846              $682.22
          M22       BAY COLONY WEST MUD              0.980000                    $324,430                        $318,557             $3,121.86
          RFL       CO ROAD & FLOOD                  0.009560                    $324,430                        $251,846                $24.08
          S11       DICKINSON ISD                    1.312000                    $324,430                        $293,557             $3,851.47
                    Total Tax Rate:                  3.449726
                                                                                             Taxes w/Current Exemptions:               $9,923.46
                                                                                             Taxes w/o Exemptions:                    $11,191.95


 Improvement / Building
      Improvement #1: RESIDENTIAL State Code: A1 Living Area: 2389.0 sqft Value: $293,750

              Type       Description      Class Exterior                             Year     SQFT
                                          CD      Wall                               Built
              MA      MAIN AREA           B14 - * BV                                 2009    1392.0
              MA2     MAIN AREA 2ND FLOOR B14 - *                                    2009    997.0
              OP      OPEN PORCH          B14 - *                                    2009    124.0
              OP      OPEN PORCH          B14 - *                                    2009    100.0
              GA      GARAGE              B14 - *                                    2009    662.0

 Land

                                       I0.1722 I7500.00 I0.00
          # Type Description Acres Sqft
          1   RL     RL
                                                         Eff Front IEff Depth IMarket Value
                                                                    0.00            $30,680
                                                                                                                Prod. Value
                                                                                                                            $0
                                                                                                                                 l
 Roll Value History
      r
          Year
          2022
                   Improvements
                           $293,750
                                       ILand $30,680
                                             Market IAg Valuation IAppraised
                                                                0    324,430                      $5,873
                                                                                                           I
                                                                                                 HS Cap Assessed
                                                                                                               $318,557
          2021             $260,770             $30,680                     0          291,450    $1,853       $289,597
          2020             $232,590             $30,680                     0          263,270        $0       $263,270
          2019             $214,670             $30,080                     0          244,750        $0       $244,750
          2018             $213,460             $30,080                     0          243,540        $0       $243,540
          2017             $208,640             $33,000                     0          241,640        $0       $241,640
          2016             $184,510             $33,000                     0          217,510        $0       $217,510
          2015             $184,510             $33,000                     0          217,510        $0       $217,510
          2014             $162,810             $33,000                     0          195,810        $0       $195,810
          2013             $162,810             $33,000                     0          195,810        $0       $195,810


 Deed History - (Last 3 Deed Transactions)

          # Deed            Type Description                  Grantor            Grantee          Volume         Page            Deed
            Date                                                                                                                 Number
          1   3/21/2018 WV           WARRANTY DEED LAPOINTE                      DAIGLE           2018016979 2018016979 2018016979
                                                   RACHAEL A                     DUSTIN &
                                                                                 MELISSA
          2   6/2/2014      WV       WARRANTY DEED BATES                         LAPOINTE                        2014031810 2014031810
                                                   BRETT &                       RACHAEL A
                                                   LEANNE R
          3   5/26/2010 WD           WARRANTY DEED D R                           BATES                           2010026007 2010026007
                                                   HORTON -                      BRETT &
                                                   TEXAS LTD                     LEANNE R


 Tax Due
    Property Tax Information as of 05/02/2022

     Amount Due if Paid on:   Ill.

          Year     Taxing            Taxable       Base
                                                           f Base               Base         Discount / Penalty Attorney
                                                                                                                   f                 Amount
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                                                                    Property Details


      I        I
                   Jurisdiction Value
                                                   I
                                                     Tax        Taxes
                                                              IPaid
                                                                                  Tax Due         & Interest                    Fees            Due
                                                                                                                                                             I
    NOTE: Penalty & Interest accrues every month on the unpaid tax and is added to the balance. Attorney fees may also increase your tax liability if not paid by
    July 1. If you plan to submit payment on a future date, make sure you enter the date and RECALCULATE to obtain the correct total amount due.


                                                       Questions Please Call (409) 935-1980

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